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                      Exhibit A




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                                                                  Objection Summary Chart1

          Objecting Party            #            Summary of Objection                                Debtors’ Response                             Status

    Official Committee of the        A   The Debtors do not demonstrate that (x) the    Need for DIP financing is within the debtor’s       The objection is going
    Unsecured Creditors                  financing arrangement is necessary to          business judgment. Term DIP Loan Facility           forward on a contested
    (“Committee”) [D.I. 390]             preserve assets of the estate and (y) the      constitutes a reasonable exercise of the Debtors’   basis.
                                         arrangement is otherwise fair and              business judgment. (See DIP Reply ¶ 10.)
         Joined       by    MDL          reasonable. (Comm. Obj. ¶ 25–26.)
         Plaintiffs’ Counsel [D.I.
         391]                        B   The Roll Up is excessive because the Term      The committed new money under the Term DIP          The objection is going
                                         DIP Loan Facility provides only                Loan Facility is $85 million ($32 million of        forward on a contested
                                         approximately $32 million of incremental       which is already drawn), which is far from          basis.
                                         liquidity. (Comm. Obj. ¶ 27.)                  nominal. Further, unsecured creditors are not
                                                                                        harmed by the Roll Up because the Prepetition
                                                                                        Senior Priority Notes are oversecured and
                                                                                        remain subject to the Challenge. (See DIP Reply
                                                                                        ¶ 10.)

                                     C   The Roll Up should be subject to automatic     Prepetition Senior Priority Notes remain subject    The objection is going
                                         unwinding in its entirety in the event of a    to challenge, with an appropriate remedy to be      forward on a contested
                                         successful Roll Up Challenge. (Comm.           fashioned by the Court. (See Final Order ¶ 2d.)     basis.
                                         Obj. ¶ 35.)

                                     D   Challenge period should not apply to           The language of the Order clarifies that the        The Debtors believe the
                                         valuation issues. (Comm. Obj. ¶ 51.)           Committee’s ability to contest valuation is not     added language should
                                                                                        limited by the Challenge rights. (See DIP Reply     resolve the Committee’s
                                                                                        ¶ 34; Final Order ¶ 2(d).)                          objection.

                                     E   Adequate Protection in the form of paying      Proposed Final Order expressly provides for         The Debtors believe the
                                         interest in kind and other fees and expenses   recharacterization or disgorgement. (See DIP        added language should
                                         should be subject to recharacterization (as    Reply ¶ 29.)                                        resolve the Committee’s
                                         payments in principal) or automatic                                                                objection.
                                         disgorgement. (Comm. Obj. ¶ 38.)




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    Capitalized terms used but not otherwise defined shall have the same meaning as in the proposed Final DIP Order or the Reply, as applicable.


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Objecting Party   #            Summary of Objection                               Debtors’ Response                              Status

                  F   Waiver of “equities of the case” exception    This provision is part of a package of               The objection is going
                      to section 552(b) of the Bankruptcy Code is   consideration that was negotiated in good faith      forward on a contested
                      inappropriate. (Comm. Obj. ¶ 39.)             and at arms’ length and is appropriate, especially   basis.
                                                                    as the Debtors have no other viable postpetition
                                                                    financing. (See DIP Reply ¶ 35.)

                  G   Waiver of surcharge under Bankruptcy          This provision is part of a package of               The objection is going
                      Code section 506(c) is inappropriate          consideration that was negotiated in good faith      forward on a contested
                      (Comm. Obj. ¶ 39.)                            and at arms’ length and is appropriate, especially   basis.
                                                                    as the Debtors have no other viable postpetition
                                                                    financing. (See DIP Reply ¶ 36.)

                  H   Granting of liens on Avoidance Actions and    This provision was negotiated in good faith and      The objection is going
                      their proceeds should not be permitted.       at arms’ length and is appropriate, especially as    forward on a contested
                      (Comm. Obj. ¶¶ 43–47.)                        the Debtors have no other viable postpetition        basis.
                                                                    financing. (See DIP Reply ¶ 32.)

                  I   Waiver of marshaling doctrine should not      The Committee lacks standing to object to this       The objection is going
                      be permitted. (Comm. Obj. ¶ 48.)              provision.     Moreover, this provision was          forward on a contested
                                                                    negotiated in good faith and at arms’ length and     basis.
                                                                    is appropriate, especially as the Debtors have no
                                                                    other viable postpetition financing. (See DIP
                                                                    Reply ¶ 34.)

                  J   Committee’s professional fees should not      The Debtors have added language to the Final         The Debtors believe the
                      be subject to a cap. (Comm. Obj. ¶¶ 49–       DIP order removing any cap. (See Final Order         added language should
                      50.)                                          ¶ 24(a).)                                            resolve the Committee’s
                                                                                                                         objection.

                  K   Committee’s investigative budget should       The Debtors have added language to the Final         The objection is going
                      be increased to $250,000, and any excess      DIP increasing the budget to $150,000, and any       forward on a contested
                      fees should be permitted as administrative    additional amounts will permitted as                 basis.
                      expenses. (Comm. Obj. ¶¶ 52–53.)              administrative expenses consistent with 11
                                                                    U.S.C § 503. (See Final Order ¶ 24(a).)




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      Objecting Party           #            Summary of Objection                               Debtors’ Response                             Status

                                L   Definition of “Diminution in Value” should    The Debtors have added language to the Final        The Debtors believe the
                                    be limited. (Comm. Obj. ¶ 54.)                DIP order to limiting “Diminution in Value” to      added language should
                                                                                  maximum extent permitted by law, including the      resolve the Committee’s
                                                                                  Bankruptcy Code. (See Final DIP Order ¶ H(e).)      objection.

                                M   Debtors’ release for the benefit of DIP       This provision was negotiated in good faith and     The objection is going
                                    Lenders should exclude claims for fraud,      at arms’ length and is appropriate, especially as   forward on a contested
                                    gross negligence, or willful misconduct.      the Debtors have no other viable postpetition       basis.
                                    (Comm. Obj. ¶ 54.)                            financing. (See DIP Reply ¶ 40.)

                                N   Committee should receive same reporting       The Debtors have added language to provide          The Debtors believe the
                                    as DIP Lenders. (Comm. Obj. ¶ 54.)            that the Committee will receive the same            added language should
                                                                                  reporting as the DIP Lenders. (See Final DIP        resolve the Committee’s
                                                                                  Order ¶ 11(c)(iii).)                                objection.

                                O   DIP Order should not modify prepetition       The amendments in the proposed Final Order          The objection is going
                                    intercreditor agreements. (Comm. Obj.         are technical amendments that prevent the           forward on a contested
                                    ¶ 54.)                                        parties from needing to prepare new DIP             basis.
                                                                                  intercreditor agreements and incurring the
                                                                                  associated administrative expense costs.

                                P   Various objections to Events of Default and   These provisions were negotiated in good faith      The objection is going
                                    remedies for the same relating to RSA, and    and at arms’ length and are appropriate,            forward on a contested
                                    recharacterization of Roll Up. (Comm.         especially as the Debtors have no other viable      basis.
                                    Obj. ¶ 54.)                                   postpetition financing. (See DIP Reply ¶ 31.)

Cerberus Capital                A   Roll Up relies on collateral trustee’s        This objection elevates form over substance and     The objection is going
Management, L.P. and                consent, and trustee did not effectively      is not a basis to deny the DIP Motion. (See DIP     forward on a contested
Bayside Capital, Inc.               consent due to insufficient documentation.    Reply ¶ 44].)                                       basis.
[D.I. 394], initial objection       (Cerberus Bayside Obj. ¶ 7-14)
[D.I. 76]
                                B   Term DIP Loan Facility is inappropriate       The Debtors’ need for the Term DIP Loan             The objection is going
                                    because Debtors do not need additional new    Facility is governed by the Debtors’ business       forward on a contested
                                    money. (Cerberus Bayside Obj. ¶¶ 15–16.)      judgment, which is supported by the unrebutted      basis.
                                                                                  evidence. (See DIP Reply ¶¶ 10, 42-43.)




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     Objecting Party        #           Summary of Objection                              Debtors’ Response                              Status

                            C   Amount of Roll-Up is excessive. (Cerberus   The committed new money under the Term DIP           The objection is going
                                Bayside Obj. ¶¶ 17–19.)                     Loan Facility is $85 million ($32 million of         forward on a contested
                                                                            which is already drawn), which is far from           basis.
                                                                            nominal. Further, Cerberus and Bayside’s
                                                                            assertions reiterate the assertions that the Court
                                                                            has already rejected on the merits in the
                                                                            Adversary Proceeding and are meritless.
                                                                            Moreover, the Prepetition Senior Priority Notes
                                                                            are oversecured and remain subject to the
                                                                            Challenge. (See DIP Reply ¶¶ 10, 42-43.)

Mockingbird Credit          A   Roll-Up is not necessary, and Debtors do    The Debtors’ need for the Term DIP Loan              The objection is going
Opportunities Company LLC       not demonstrate that new money is           Facility is governed by the Debtors’ business        forward on a contested
[D.I. 392]                      necessary. (Mockingbird Objection ¶¶ 11-    judgment, which is supported by the unrebutted       basis.
                                12)                                         evidence.

                                                                            The committed new money under the Term DIP
                                                                            Loan Facility is $85 million ($32 million of
                                                                            which is already drawn), which is far from
                                                                            nominal. Further, the Roll Up is a negotiated
                                                                            and required term of the Term DIP Loan Facility
                                                                            and does not harm Mockingbird because the
                                                                            Prepetition Senior Priority Notes are
                                                                            oversecured and remain subject to the
                                                                            Challenge. (See DIP Reply ¶¶ 10, 42-43.)

                            B   RSA-related Events of Default should not    This provision is part of a package of               The objection is going
                                be approved. (Mockingbird Obj. ¶¶ 13-14.)   consideration that was negotiated in good faith      forward on a contested
                                                                            and at arms’ length and is appropriate, especially   basis.
                                                                            as the Debtors have no other viable postpetition
                                                                            financing. (See DIP Reply ¶ 31.)




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